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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF NEW YORK

                                   Case Number: 1:20cv02479


DOS BOWIES, LP, AUSTIN WALTER, ADAM
BRADEN, BARRY ETTINGER, BENJAMIN PHILLIPS,
TYC INVESTMENTS, LLC, DANNY EAPEN,
ERIC KUNTZ, GEOFFREY ALEXANDER,
HUNTER HUDSON, JOSE LLINAS, JOSEPH THAMES,
JAMES-PAUL DILL, KENNETH WALTER,
PAUL PISKLAK, RAFAL SUBERNAT,
RICHARD CAIN, ROY ABRAHAM,
RUSSELL BABBITT, RYAN KOCHEN, RIPE CAPITAL
PARTNERS LLC, STEVE NURKIN, SYED KALIM
HUSSAINI, HEESUK R. YOON, SUNIL CHERRY,
PARAG JOSHI, HITEN PATEL, NIMISH PATEL,
DAVID WEHBY, PALAM ANNAMALAI,
JASON MORRIS, MAULIK PARIKH, VENKAT IYER,
HANNIE PATEL, SHYAM KISHAN, WILLIAM HEFLIN
BARTON, III, RYAN NEUHAUS and GUPTA
BROKERAGE LLC,



                     Plaintiffs,

v.

MICHAEL ACKERMAN, DR. QUAN TRAN,
and JAMES A. SEIJAS,


                     Defendants.

                                                           /

                           PLAINTIFFS’ NOTICE OF APPEAL

       Notice is hereby given that Plaintiffs Dos Bowies, LP (“Dos Bowies”), Austin Walter

(“Mr. A. Walter”), Adam Braden (“Dr. Braden”), Barry Ettinger (“Dr. Ettinger”), Benjamin

Phillips (“Dr. Phillips”), TYC Investments, LLC (“TYC”), Danny Eapen (“Dr. Eapen”), Eric

Kuntz (“Mr. Kuntz”), Geoffrey Alexander (“Dr. Alexander”), Hunter Hudson (“Mr. Hudson”),

Jose Llinas (“Dr. Llinas”), Joseph Thames (“Mr. Thames”), James-Paul Dill (“Mr. Dill”), Kenneth
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Walter (“Mr. K. Walter”), Paul Pisklak (“Dr. Pisklak”), Rafal Subernat (“Dr. Subernat”), Richard

Cain (“Dr. Cain”), Roy Abraham (“Mr. Abraham”), Russell Babbitt (“Dr. Babbitt”), Ryan

Kochen (“Mr. Kochen”), Ripe Capital Partners LLC (“Ripe Capital”), Steve Nurkin (“Dr.

Nurkin”), Syed Kalim Hussaini (“Dr. Hussaini”), Heesuk R. Yoon (“Dr. Yoon”), Sunil Cherry (“Dr.

Cherry”), Parag Joshi (“Dr. Joshi”), Hiten Patel (“Dr. H. Patel”), Nimish Patel (“Dr. N. Patel”), David

Wehby (“Dr. Wehby”), Palam Annamalai (“Dr. Annamalai”), Jason Morris (“Dr. Morris”), Maulik Parikh

(“Dr. Parikh”), Venkat Iyer (“Dr. Iyer”), Hannie Patel (“Dr. Patel”), Shyam Kishan (“Dr. Kishan”),

William Heflin Barton, III (“Dr. Barton”), Ryan Neuhaus (“Dr. Neuhaus”) and Gupta Brokerage LLC

(“Gupta Brokerage”), in the above-captioned case, appeal to the United States Court of Appeals

for the Second Circuit from the judgment (Docket Entry (“D.E.”) 47) entered on January 29,

2021, that granted Defendant Dr. Quan Tran and Defendant James A. Seijas’ motion to dismiss

(D.E. 38) and dismissed the above-captioned matter.

Dated: Coral Gables, Florida
       February 26, 2021
                                                HUNTER TAUBMAN FISCHER & LI LLC

                                                /s/ Mark David Hunter
                                                Mark David Hunter, Esquire
                                                New York Bar No. 4017331
                                                Jenny Johnson-Sardella, Esquire
                                                New York Bar No. 4225850
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                               CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that the aforementioned document was filed
through the Court’s CM/ECF system on February 26, 2021. Parties of record may obtain a copy
through the Court’s CM/ECF system. The undersigned certifies that no party of record requires
service of documents through any means other than the CM/ECF system.


                                                  /s/ Mark David Hunter
                                                  Mark David Hunter




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